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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL.                                             CIVIL ACTION

VERSUS                                                                 No. 12-859

MARLIN GUSMAN, ET AL.                                                 SECTION I

                                        ORDER

         Considering Orleans Parish Sheriff Marlin N. Gusman’s (“Gusman”)

unopposed motion 1 for an extension of time to file his motion to terminate the

Compliance Directorship,

         IT IS ORDERED that the motion is GRANTED and that Gusman shall file

his motion to terminate the Compliance Directorship by MAY 25, 2020.

         New Orleans, Louisiana, April 24, 2020.



                                         _______________________________________
                                                 LANCE M. AFRICK
                                         UNITED STATES DISTRICT JUDGE




1   R. Doc. No. 1240.
